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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
      Plaintiff

        v.
                                                            Criminal No. 07-121 (ADC)
 [37] EMMANUEL TORRES-SUAREZ,
       Defendant



                                 OPINION AND ORDER

       After being charged, along with forty-one (41) individuals, for having conspired to

intentionally and knowingly possess with intent to distribute controlled substances, defendant

Emmanuel Torres-Suárez (hereafter Torres) moved to suppress the evidence seized as a result

of searches conducted by state police officers on October 22, 2003 (Overt Act No. 39) and July

31, 2003. (Docket Nos. 1 and 623 ). The government opposed defendant’s request (Docket

No. 721).

       Upon the matter being referred to a Magistrate Judge for Report and Recommendation,

an evidentiary hearing was held on January 15, 2008 (Docket No. 795). Testimonies of state

police officers Tommy Hernández-Santiago, Harold Ortiz-Hernández, Javier Laboy-Montañez

and FBI Agent Irvin O’Fray-Vázquez testified at the haring. Thereafter, pursuant to the

evidence presented at the suppression hearing, Chief Magistrate-Judge Justo Arenas issued

on January 18, 2008, a Report and Recommendation. It was recommended that defendant’s

motion to suppress “be GRANTED in relation to the October 22, 2003 seizure.” In relation to

the July 31, 2003 seizure, the Chief Magistrate-Judge concluded there was sufficient
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information on record, substantiating the collective knowledge and information in possession

of state officers to reasonably determine that a crime was being committed and that defendant

had committed it. Accordingly, as it relates to the July 31, 2003 seizure, it was the Magistrate-

Judge’s recommendation that the suppression ought to be DENIED. (Docket No. 827).

       This Court has reviewed the entire record, the Magistrate-Judge’s findings of fact

concerning the testimonies presented at the suppression hearing and his conclusions of law.

Both, conclusions of fact and law remain unchallenged inasmuch as the parties have not

objected to the Report and Recommendation. This Court concurs with the Magistrate-Judge’s

analysis and determination regarding the existence or not of exigent circumstances allowing

for warrantless searches of premises where the defendant was or resided.

       Accordingly, the Report and Recommendation is ADOPTED and evidence seized on

October 23, 2003 is ORDERED suppressed. Defendant’s motion is DENIED as it relates to

the July 31, 2003 seizure.

       SO ORDERED.

       At San Juan, Puerto Rico, this 12th day of February, 2008.




                                                   S/AIDA M. DELGADO-COLON
                                                   United States District Judge
